                  Case 3:22-cv-00990-JD Document 98 Filed 11/03/22 Page 1 of 7




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     (Additional Counsel on Signature Page)
 6                             UNITED STATES DISTRICT COURT
 7                             NORTHERN DISTRICT OF CALIFORNIA

 8
     CHRISTOPHER WILLIAMS, ET. AL.,                    Case Nos. 3:22-cv-00990-JD, 3:22-cv-01748-
 9   individually and on behalf all others similarly   JD, 4:22-cv-01793-JD, 3:22-cv-01931-CRB,
     situated,                                         3:22- cv-02535-JD, and 3:22-cv-3455-JD.
10
11   AARON BRAXTON, ET. AL., individually
     and on behalf of all others similar situated,
12
     ALFRED POPE, individually and on behalf
13   of all others similar situated,
14   WINFRED THOMAS, ET. AL, individually
15   and on behalf of all others similar situated,

16   IFEOMA EBO, individually and on behalf of
     all others similar situated,
17
18   and

19   ELRETHA PERKINS, ET. AL., individually
     and on behalf of all others similarly situated,
20
                     Plaintiffs,
21
22          vs.

23   WELLS FARGO, N.A., a Delaware
24   Corporation; WELLS FARGO HOME
     MORTGAGE, INC., a Delaware
25   Corporation,
26                   Defendants.
27
28


     Unopposed Motion for an Extension of 7 Days to Submit Joint Statement
     Page | 1
                Case 3:22-cv-00990-JD Document 98 Filed 11/03/22 Page 2 of 7




          UNOPPOSED MOTION FOR AN EXTENSION OF 7 DAYS TO SUBMIT JOINT
 1
                                 STATEMENT
 2
            On October 20, 2022, Williams ECF No. 93, the plaintiffs in the following six parallel
 3
     cases, Williams v. Wells Fargo Bank, N.A., et al., Case No. 3:22-cv-00990-JD (filed Feb. 17, 2022)
 4
 5   (“Williams Plaintiffs”); Braxton v. Wells Fargo Bank, N.A., et al., Case No. 3:22-cv-01748-JD

 6   (filed Mar. 18, 2022) (“Braxton Plaintiffs”); Pope v. Wells Fargo Bank, N.A. et al., Case No. 4:22-
 7
     cv-01793-JD (filed Mar. 21, 2022) (“Pope Plaintiffs”); Thomas et al. v. Wells Fargo Bank, N.A. et
 8
     al., Case No. 3:22-cv-01931-CRB (filed Mar. 26, 2022) (“Thomas Plaintiffs”); Ebo v. Wells Fargo
 9
10   Bank, N.A., Case No. 3:22- cv-02535-JD (filed Apr. 26, 2022) (“Ebo Plaintiffs”); and Perkins v.

11   Wells Fargo Bank, N.A., et al., Case No. 3:22-cv-3455-JD (filed June 10, 2022) (“Perkins
12   Plaintiffs”), submit a joint statement regarding a proposal for consolidation by November 4, 2022.
13
            Plaintiffs’ counsel for all the cases met in person following the hearing for two hours and
14
     have been working diligently and collaboratively with daily phone calls and emails to prepare a
15
16   proposal to present to defense counsel. Although extensive progress has been made on a joint

17   proposal, there are details that Plaintiffs’ counsel wish to work out prior to presenting the proposal
18
     to defense counsel and ultimately the Court.
19
            WHEREFORE, Plaintiffs’ counsel respectfully request that the deadline to submit a joint
20
     statement be extended until November 11, 2022.
21
22                                          Respectfully Submitted,

23
                                             /s/ Marc E. Dann
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     Unopposed Motion for an Extension of 7 Days to Submit Joint Statement
     Page | 2
                Case 3:22-cv-00990-JD Document 98 Filed 11/03/22 Page 3 of 7



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     Unopposed Motion for an Extension of 7 Days to Submit Joint Statement
     Page | 3
                Case 3:22-cv-00990-JD Document 98 Filed 11/03/22 Page 4 of 7




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     Unopposed Motion for an Extension of 7 Days to Submit Joint Statement
     Page | 4
                Case 3:22-cv-00990-JD Document 98 Filed 11/03/22 Page 5 of 7




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                                            Attorneys for Plaintiffs and Putative Class
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     Unopposed Motion for an Extension of 7 Days to Submit Joint Statement
     Page | 5
                Case 3:22-cv-00990-JD Document 98 Filed 11/03/22 Page 6 of 7




                                      ATTORNEY ATTESTATION
 1
 2          Pursuant to Civil L.R. 5-1(h)(3), I hereby attest that concurrence in the filing of this

 3   document has been obtained from each of the other signatories.

 4
     DATED:         November 3, 2022               /s/ Marc E. Dann
 5                                                 Marc E. Dann
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     Unopposed Motion for an Extension of 7 Days to Submit Joint Statement
     Page | 6
                Case 3:22-cv-00990-JD Document 98 Filed 11/03/22 Page 7 of 7




                                      CERTIFICATE OF SERVICE
 1
 2          I hereby certify that on October 4, 2022, I electronically filed the foregoing document with

 3   the Clerk of the Court for the United States District Court, Northern District of California using
 4
     the CM/ECF system and served a copy of same upon all counsel of record via the Court’s
 5
     electronic filing system.
 6
 7                                                 /s/ Marc E. Dann
                                                   Marc E. Dann
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     Unopposed Motion for an Extension of 7 Days to Submit Joint Statement
     Page | 7
